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 6                        UNITED STATES DISTRICT COURT

 7                      EASTERN DISTRICT OF CALIFORNIA

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 9   UNITED STATES,                       No.   2:11-cr-210-JAM
10                Plaintiff,
11        v.                              ORDER GRANTING DEFENDANT’S
                                          MOTION FOR BOND PENDING APPEAL
12   NADIA KUZMENKO, et al.,
13                Defendants.
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15        On September 4, 2017, Defendant Aaron New filed a Motion for

16   Bond Pending Appeal based on the Ninth Circuit’s decision in

17   United States v. Lindsey, 850 F.3d 1009 (9th Cir. 2017), and the

18   recent reversal in United States v. Green, No. 15-10554, 2017

19   WL 2703804 (9th Cir. June 22, 2017).       ECF No. 913.     The

20   Government does not oppose the motion.        ECF No. 916.    In light of

21   the Government’s non-opposition, the Court grants Defendant’s

22   motion.   Aaron New is to be brought forthwith before a Magistrate

23   Judge of this Court for a hearing to determine the terms and

24   conditions of bond pending appeal.

25        IT IS SO ORDERED.

26   Dated: September 11, 2017

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